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                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

IN RE:                                                          CHAPTER 13

RAFAEL GONZALEZ AKA RAFAEL GONZALEZ,
SR. NITZA M. GONZALEZ AKA NITZA                                 CASE No. 20-11487-RAM
GONZALEZ


                    DEBTORS
______________________________________/

                                             NOTICE OF APPEARANCE

         April Hosford Stone of Tromberg Law Group, LLC. files this appearance as attorney for

Bank of America, N.A. in connection with 10399 N.W. 128 TERRACE, HIALEAH GARDENS, FL

33018, loan number XXXXX0010, in the above-captioned proceeding, requests that all matters

which must be noticed to creditors, any creditor's committees, and any other parties-in interest

pursuant to Fed. R. Bankr. P. 2002, whether sent by the Court, the Debtor, or any other party in the

case, be sent to the undersigned; and pursuant to Fed.R. Bankr. P 2002(g), request that the following

be added to the Court's master mailing list.




                                                          Tromberg Law Group, LLC.

                                                    BY: /s/ April Hosford Stone
                                                        Attorney for Secured Creditor
                                                        1515 South Federal Highway, Suite 100
                                                        Boca Raton, FL 33432
                                                        Telephone #: 561-338-4101
                                                        Fax #: 561-338-4077
                                                        FBN 0091388
                                                        ecf@tromberglawgroup.com
                                                        astone@tromberglawgroup.com




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                                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 5, 2020, I electronically filed the foregoing with the
Clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to all
CM/ECF participants listed below:
Robert Sanchez, Esq.
355 W 49th St
Hialeah, FL 33012
court@bankruptcyclinic.com

U.S. Trustee Southern District of Florida
Office of the US Trustee
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130
USTPRegion21.MM.ECF@usdoj.gov

Nancy K. Neidich
POB 279806
Miramar, FL 33027
e2c8f01@ch13miami.com

and on February 5, 2020, a true and correct copy was mailed to the non-CM/ECF participants listed
below:
Rafael Gonzalez aka Rafael Gonzalez, Sr.
10399 NW 128th Terrace
Hialeah Gardens, FL 33018

Nitza M. Gonzalez aka Nitza Gonzalez
10399 NW 128th Terrace
Hialeah Gardens, FL 33018




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        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in
this Court set forth in Local Rule 2090-1(A).


                                                 Tromberg Law Group, LLC.

                                                 BY: /s/ April Hosford Stone
                                                 Attorney for Secured Creditor
                                                 1515 South Federal Highway, Suite 100
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